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                          EXHIBIT “1”
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                     IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                             IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                           CIVIL DIVISION

             SANKET VYAS, as liquidating agent
             for and on behalf of Q3 I, L.P.,

                    Plaintiff,                                            Case No.:
                                                                          Division:
             v.

             RICHARD B. LEVIN, an individual,
             and POLSINELLI PC, a Missouri
             Professional Corporation,

                   Defendants.
             __________________________________/

                                                       COMPLAINT

                    Plaintiff Sanket Vyas (“Vyas”), in his capacity as liquidating agent for and on behalf of

             Q3I, L.P. (“Q3I”) files this Complaint against Defendants Richard B. Levin (“Levin”) and

             Polsinelli PC (“Polsinelli”) (collectively “Defendants”), stating as follows:

                                                        SUMMARY

                    Q3I is a limited partnership formed to facilitate a cryptocurrency trading club. An

             individual named Michael Ackerman defrauded Q3I, causing it to lose the vast majority of the $35

             million paid into the club. Ackerman has plead guilty to criminal fraud.

                    Levin is an attorney who was hired by Q3I and its general partner, Q3 Holdings, in 2019

             to provide legal guidance to Q3 Holdings with the primary intent being to benefit and protect Q3I

             and its limited partners. At the time, Levin was a partner with Polsinelli, which marketed Levin as

             being one of the top cryptocurrency fund specialists in the country.

                    Ackerman accomplished his fraud by reporting false returns in the crypto exchange

             accounts to Q3I and then using those false returns to take unearned “profits” from Q3I pursuant to




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             a profit participation agreement. In truth, Ackerman was not taking any profit, he was stealing

             Q3I’s deposits.

                    Ackerman’s scheme was not the work of a criminal mastermind. It should have been easily

             discovered and prevented. But, key failings by Q3I fiduciaries permitted the scheme to thrive.

             Levin’s negligence was a key cog in Ackerman’s fraud machine. Levin’s uninformed ratification

             of Ackerman’s account-handling and transfers allowed Ackerman to perpetuate a fraud that should

             have died on the vine shortly after Levin was retained.

                    Vyas, as liquidating agent for and on behalf of Q3I, brings these claims against Levin and

             Polsinelli for the damages caused by their professional negligence.

                                          PARTIES, JURISDICTION, AND VENUE

                    1.      This is an action for money damages that exceed $30,000.00, exclusive of

             attorneys’ fees and costs.

                    2.      Nonparty Q3 Holdings, LLC is a limited liability company formed in Delaware

             with its principal place of business located in Florida. Q3 Holdings is the general partner of Q3I

             and is unable to manage the winding up process of Q3I.

                    3.      Q3I is a limited partnership formed in Delaware with its principal place of business

             located in Florida. Q3I is insolvent and is winding up its affairs pursuant to the Q3I Limited

             Partnership Agreement.

                    4.      Plaintiff, Sanket Vyas (“Vyas”), is a resident of New Orleans, Louisiana. Pursuant

             to section 9.02(c) of the Q3I Limited Partnership Agreement, Vyas has been appointed as the

             Liquidating Agent of Q3I to wind up Q3I’s affairs.




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                    5.      Defendant Richard B. Levin is an individual who, on information and belief, is a

             resident of Arapahoe, County Colorado. At all material times, Levin was an attorney, Vice

             President, and Chair of Financial Technology & Regulatory Practice employed by Polsinelli PC.

                    6.      Polsinelli PC is a nationwide professional corporation organized under the laws of

             the state of Missouri. Polsinelli PC transacts business in the state of Florida through its office

             located in Miami.

                    7.      This Court has personal jurisdiction over the Defendants because the Defendants

             caused injury to persons within this state arising out of an act or omission by the Defendants

             outside this state and at or about the time of the injury, the Defendants were engaged in solicitation

             or service activities within this state. The Defendants were engaged in services within this state

             because they were hired as the attorneys for and provided legal services to Q3 Holdings, a limited

             liability company with its principal place of business in Florida, and were hired as the attorneys

             for and provided legal services to Q3I, a limited partnership with its principal place of business in

             Florida; Defendants were providing legal advice and services directed to the managers of Q3

             Holdings, one of whom resides in Florida, and Defendants were providing legal advice and

             services to and for the benefit of limited partners of Q3I, many of whom reside in Florida. The

             Defendants caused injury within this state when they negligently breached their duties to Plaintiff

             by failing throughout their entire representation to ever attempt to verify the operations,

             management, or accounts handling methods of Q3 Holdings or Q3I or ever ask the managers or

             McEvoy to do so. In particular, when Levin was asked by McEvoy whether Ackerman’s proposed

             account handling methods were legally sound and appropriate, Levin stated that he was

             “completely comfortable” with the way the funds were being handled without ever seeking to

             verify that the account handling methods were set up in a way to protect Q3I. By ratifying and



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             encouraging the account handling methods and transfers without conducting any diligence or

             investigation to verify the veracity of them, or asking the fiduciaries to do so, Levin breached his

             duty of care he owed to Q3I. A reasonably careful attorney would not have failed to seek to confirm

             the veracity of the account handling methods when asked by Q3I’s fund administrator about the

             propriety of same. The Defendants’ negligence was the direct and proximate cause of millions of

             dollars of lost investments by Plaintiff who relied on Defendants’ legal services and advice to its

             detriment. Additionally this court has personal jurisdiction over Defendants because when a

             corporation engages in substantial and not isolated activities within this state, or has a business

             office within the state and is actually engaged in the transaction of business therefrom, service

             upon any officer or business agent while on corporate business within this state may personally be

             made, and it is not necessary in such case that the action, suit, or proceeding against the corporation

             shall have arisen out of any transaction or operation connected with or incidental to the business

             being transacted within the state.

                    8.      Venue is proper in this Court because the Firm and its agent Richard Levin were

             doing business in this state and this is the County where the cause of action accrued.

                                                  GENERAL ALLEGATIONS

                    9.      In 2017, non-parties Dr. Quan Tran, James Seijas, and Michael Ackerman (the

             “principals” or “managers”) formed an informal cryptocurrency trading club. The club purported

             to use a proprietary and wildly successful algorithm developed by Ackerman that he would use in

             the cryptocurrency exchanges to trade on the volatility of cryptocurrency. In truth, there was no

             successful algorithm. Ackerman merely tricked the club by maintaining sole access to the

             exchange accounts and reporting false returns. To hide what he was doing from Tran and Seijas,

             Ackerman sent them doctored screenshots of the account balances in the cryptocurrency trading



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             accounts held at the exchanges. This made it falsely appear that significant profits had been earned

             on the money transferred to those accounts.

                    10.     In 2018, Q3 Holdings and Q3I were created to formalize the club.

                    11.     Q3 Holdings became the general partner of Q3I. Q3 Holdings is managed by three

             managers: Tran, Seijas, and Ackerman. According to the Q3 Holdings LLC Agreement, no action

             could be taken by Q3 Holdings without approval by a majority of its managers.

                    12.     Q3I was formed as the limited partnership, and investors became Q3I’s limited

             partners. Q3I was managed by its general partner Q3 Holdings. Q3 Holdings and Q3I also hired

             several fiduciaries to oversee their operations and mainly to protect Q3I and its limited partners.

                    13.     Among the fiduciaries hired by Q3 Holdings and Q3I, was attorney Rick Levin.

             Levin has since left Polsinelli, but at all times that Levin was engaged as Q3 Holdings and Q3I’s

             attorney, Levin was an attorney with Polsinelli and the Chair of Polsinelli’s Financial Technology

             (FinTech) and Regulatory Practice.

                    14.     Polsinelli’s website defines the FinTech sector as including digital currencies,

             blockchain technology, robo advisors, and electronic trading platforms, among others. At all

             relevant times, Polsinelli’s website stated that Levin’s “practice focuses on helping financial

             services and technology (FinTech) clients identify and address regulatory issues as they build their

             business.” The website stated that “Polsinelli is at the vanguard” of the changes in FinTech and

             that Levin’s practice “focuses on the representation of early stage and publicly traded companies

             in the FinTech space, including investment banks, broker-dealers, investment advisors, peer to

             peer lending platforms, digital currency trading platforms, and alternative trading systems (ATSs),

             and exchanges.”




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                    15.    Q3 Holdings and Q3I engaged Levin’s legal services. McEvoy, as Q3I’s fund

             administrator, set up recurring phone conferences with Levin, during which Levin provided legal

             advice to Q3I and Q3 Holdings regarding their operations, management, and account handling

             methods.

                    16.    Prior to discovery, Plaintiff does not have access to all correspondence between

             Levin, Q3 Holdings, and Q3I, because much of Levin’s legal services were communicated via

             telephone conference, so the full scope of Levin’s representation will be revealed in discovery.

             Currently, Plaintiff has documents showing that as Q3 Holdings’ and Q3I’s attorney, Levin

             reviewed all the Q3 Holdings and Q3I corporate documents and that Levin knew that Q3 Holdings

             was the general partner of Q3I, a limited partnership that was set up for the sole purpose of

             investing limited partners’ fiduciary funds into cryptocurrency exchanges for trading. Levin

             specifically requested the number of and locations of the limited partners of Q3I. Levin set up

             recurring conference calls with the managers of Q3 Holdings and the fund administrator of Q3I

             and counseled them on a wide variety of legal advice regarding: securities laws and regulations,

             account handling methods of Q3I’s fiduciary funds, anti-money laundering policies, and

             recommendations, and provided Q3 Holdings advice when Q3 Holdings discovered that Ackerman

             was fraudulently stealing Q3I’s fiduciary funds. Levin also drafted license agreements to be used

             by Q3 Holdings and Q3I, legal memoranda, the specific subject matters of which will be revealed

             in discovery, and on information and belief, assisted in amending corporate documents.

                    17.    As part of his due diligence in becoming Q3 Holdings’ and Q3I’s attorney, Levin

             requested a variety of information from Q3I and Q3 Holdings concerning their operations. Levin

             was sent all of Q3 Holdings and Q3I’s documents, including the Investment Documents, defined

             below, and answers to questions posed by him.



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                    18.     Through his review of the Q3 Holdings and Q3I documents and his

             communications with the Principals and other fiduciaries such as Q3I’s fund administrator Denis

             McEvoy, Levin was made aware that Q3I was a limited partnership managed by Q3 Holdings and

             Q3I’s limited partners (the “Victims”) purchased limited partnership interests in Q3I for the sole

             purpose of investing in cryptocurrency. Levin was also informed that Q3I was supposedly pursuing

             a strategy by which it would employ a proprietary algorithm to engage in high-frequency trading

             of cryptocurrencies on established exchanges.

                    19.     Importantly, the Investment Documents demonstrated to Levin that Q3 Holdings

             and Q3I owed fiduciary duties to the Victims, that those duties required them to pursue the

             investment scheme set forth in the Documents, and that the Q3I account would be a fiduciary

             account because it would hold funds being managed by Q3 Holdings on behalf of the Victims by

             their fiduciary. Levin was aware that the Q3I account was a fiduciary account.

                    20.     Q3I’s fund documents represented that money paid by Victims into the Q3I account

             would be swept into a cryptocurrency exchange. Q3 Holdings, as general manager of Q3I, was to

             receive 50% of the trading profits and a license fee for the alleged algorithm. The vast majority of

             the Victims’ money was lost because Ackerman reported enormous false returns to Q3I and the

             limited partners that would have permitted the general partner to receive 50% of the supposed

             profits. Because the returns were not real, the profits were not real, and the result is that Ackerman

             was able to take money from Q3I that had not been earned.

                    21.     In reality, however, the majority of the funds were being misappropriated by

             Ackerman.

                    22.     Ackerman, one of the Principals of Q3 Holdings, convinced the other two

             Principals that transferring Q3I funds from its bank account to the cryptocurrency exchanges and



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             also transferring distributions from the cryptocurrency exchanges to the Q3I bank account would

             cost too much in transaction fees.

                    23.     Ackerman proposed an account handling and transfer plan to bypass the supposed

             fees associated with moving the funds to and from the exchanges.

                    24.     The account handling and transfer plan was explained as follows: Although the

             funds deposited from Q3I limited partners are transferred to Q3 Holdings and then to the

             Principals, in reality the Principals were sending limited partners’ investments to the

             cryptocurrency exchange and buying crypto and then liquidating the cryptocurrencies from the

             exchanges to send to Q3 Holdings. However, instead of losing fees on both sides of those trades,

             the Principals would register the transactions in the accounting spreadsheets as such while they

             move the funds from the Q3I account to the Q3 Holdings account. The enormous profits Ackerman

             was generating in the cryptocurrency exchanges would cover all the funds the Principals were

             moving between Q3I and Q3 Holdings.

                    25.     Ackerman convinced Tran and Seijas that the fees associated with numerous

             transactions between Q3I’s account and cryptocurrency exchanges would greatly depreciate the

             limited partners’ profits and proposed a workaround whereby Ackerman purported to cover all

             transactions between the Q3I and Q3 Holdings accounts with the supposed profits in the

             cryptocurrency exchange.

                    26.     While Seijas and Tran seemed to believe the explanation, it makes no sense. Q3I

             would have incurred minimal additional transaction fees in transferring funds from the

             cryptocurrency exchanges to distribute profits because Q3I was engaged in high-frequency trading

             – i.e., consistently moving in and out of cryptocurrency – as opposed to longer term trades that

             would have material costs associated with unwinding them.



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                    27.     According to the PPM, Q3I’s investment approach “hones in on rapid entry and

             exists from the market to mitigate the threat of high market volatility ….” It also notes that Q3I’s

             proprietary algorithm was supposed to employ uses “informational data points to effectuate short,

             positional swing trades on a high frequency, high risk mitigation basis ….”

                    28.     Given this trading strategy, any transaction fees related to converting

             cryptocurrencies to dollars would have been incurred. The only costs associated with distributing

             profits in a convention manner would have been wire transfer fees, to the extent the cryptocurrency

             exchanges and the bank did not waive them (as is regularly done). Thus, the “transaction fees”

             justification for the suspicious transfer of the Victims’ funds in the fiduciary account to the Q3

             Holdings account is unavailing on its face.

                    29.     Tran and Seijas on behalf of Q3 Holdings, and McEvoy, on behalf of Q3I, sought

             counsel with Levin and Polsinelli to investigate the legal propriety of the transfers and account

             handling implemented by Ackerman to manage Q3I’s investment funds.

                    30.     The dubious nature of Ackerman’s explanation of the account handling methods

             would have been evident to a sophisticated attorney specializing in regulatory and digital assets,

             such as Levin and Polsinelli. But Levin did nothing to substantiate that the explanation had merit,

             such as requesting proof that the money diverted from the Victims was consistent with the account

             balances in the cryptocurrency accounts.

                    31.     Documents reveal that Q3 Holdings and Q3I specifically sought Levin’s counsel

             that the account handling methods were in compliance with the Investment Documents.

                    32.     Despite the fact that the Transfers violated the terms of the Q3I Agreement, without

             doing any investigation on behalf of Q3 Holdings or Q3I to determine the propriety of Ackerman’s

             accounting method or verifying the supposed profits in the exchanges that would be used as



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             warranty for the transfers, and without advising Q3I’s fund administrator or the other mangers of

             Q3 Holdings to confirm the veracity of Ackerman’s proposed account handling methods, Polsinelli

             negligently ratified Ackerman’s account handling methods. Rather, Levin, without conducting any

             diligence whatsoever and without asking other fiduciaries to investigate, blindly ratified

             Ackerman’s account handling methods and told Q3I’s fund administrator he was “completely

             comfortable” with the transfers.

                     33.     The Principals utilized the account handling methods approved by Levin to account

             for millions of dollars of transfers from Q3I.

                     34.     Unbeknownst to the Q3I limited partners or the other two Principals of Q3

             Holdings, Ackerman’s account handling methods to supposedly avoid fees was a cover to

             misappropriate Q3I’s assets.

                     35.     Ackerman told the other Principals that the Q3I cryptocurrency exchanges had over

             $300 million in profits, and that the 15% or more monthly profits were more than adequate to

             cover the transfers implemented.

                     36.     In reality, Q3I’s trading accounts had a monthly balance averaging about $1.7

             million in total assets.

                     37.     Q3I’s funds were not being transferred to bypass unnecessary fees.

                     38.     Q3I’s funds were being systematically misappropriated by Ackerman.

                     39.     As Q3 Holdings and Q3I’s attorney, Levin’s stamp of approval of Ackerman’s

             account handling methods and transfers gave Ackerman’s actions legitimacy and credibility to

             withstand any potential scrutiny from the other Principals, Q3I’s fund administrator, or limited

             partners.




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                     40.     Levin’s ratification of Ackerman’s account handling methods and transfers directly

             allowed Ackerman to misappropriate Q3I’s funds for months without the other Principals or

             limited partners realizing it.

                     41.     Ackerman’s misappropriation of Q3I’s funds could not have been accomplished

             without Levin and Polsinelli’s negligent representation of Q3 Holdings and Q3I and Levin and

             Polsinelli’s negligent ratification and approval of the account handling methods and transfers.

                     42.     Q3 Holdings and Q3I did not discover the fraud until late-December 2019 or early

             January 2020, when Seijas and Tran discovered Ackerman’s fraud and reported him to the US

             government, and the US government seized what was left of Q3I’s assets and accounts.

                     43.     As a direct result of Defendants’ professional negligence, Q3I and its limited

             partners have suffered significant damages.

                                              COUNT I – Professional Negligence
                                                  (against Richard Levin)

                     44.     Plaintiff incorporates paragraphs 1 through 43 as if fully set forth herein.

                     45.     Levin acted as Q3I’s attorney when Q3I, through its fund administrator Denis

             McEvoy, consulted Levin with the purpose of obtaining legal services as evidenced the recurring

             conference calls and direct correspondence between McEvoy and Levin regarding Q3I’s

             operations, funds, and management.

                     46.     Plaintiff does not have access to all correspondence between Levin and Q3I,

             because much of Levin’s legal services were communicated via telephone call, so the full scope

             of Levin’s representation will be revealed in discovery. Currently, Plaintiff has documents

             showing that as Q3I’s attorney, Levin reviewed all the Q3I corporate documents and that Levin

             knew that Q3 Holdings was the general partner of Q3I, which was a limited partnership that was

             set up for the sole purpose of investing limited partners’ fiduciary funds into cryptocurrency

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             exchanges for trading. Levin specifically requested the number of and locations of the limited

             partners of Q3I. Levin set up recurring conference calls with the managers of Q3 Holdings and the

             fund administrator of Q3I and counseled them on a wide variety of legal advice regarding:

             securities laws and regulations, account handling methods of Q3I’s fiduciary funds, and anti-

             money laundering policies. Levin also drafted license agreements to be used by Q3 Holdings and

             Q3I, legal memoranda, the specific subject matters of which will be revealed in discovery, and on

             information and belief, assisted in amending certain corporate documents. As such, Levin owed

             Q3I a duty of care to employ that degree of knowledge, skill, and judgment ordinarily possessed

             by members of the legal profession.

                    47.     In addition, because Levin held himself out to Q3I as having special skill and

             knowledge related to cryptocurrency and digital assets, Levin owed a duty of care to Q3I that a

             reasonably careful attorney, acting as such a specialist or possessing that special skill or

             knowledge, would do under the same or similar circumstances.

                    48.     In the alternative, if actual privity does not exist between Q3I and Levin, Levin

             owed Q3I a duty pursuant to Florida law because Q3I was the third-party beneficiary of Levin’s

             engagement by Q3 Holdings. A contract to engage the legal services of Levin existed between

             Levin and Q3 Holdings. The intent of the contract was to primarily and directly benefit third party

             Q3I. The parties’ intent to use Levin’s legal services primarily and directly to benefit Q3I and its

             limited partners is evidenced by the fact that Denis McEvoy, Q3I’s fund administrator and

             fiduciary who has no role with Q3 Holdings, acted as the main liaison between Q3 Holdings, Q3I,

             and Levin. Emails in Plaintiff’s possession show that McEvoy corresponded directly with Levin

             and then shared information from Levin with the managers of Q3 Holdings. McEvoy also

             scheduled recurring conference calls which included McEvoy, Levin, and the managers for Q3



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             Holdings. Levin requested, received, and reviewed all of the corporate documents for both Q3

             Holdings and Q3I, and specifically requested information related to the number of and locations

             of Q3I’s limited partners.

                    49.     There was a breach of the contract when Levin failed to perform his duties in a way

             that would protect and benefit Q3I. Specifically, when McEvoy consulted with Levin about

             Ackerman’s proposed account handling methods and transfers of Q3I’s fiduciary assets, Levin’s

             stamp of approval without verifying the veracity of Ackerman’s account handling methods, or

             even asking McEvoy or the managers of Q3 Holdings to verify the veracity of the methods,

             allowed Ackerman to steal millions of dollars of Q3I’s fiduciary funds under the guise of an

             approved and legal system. Throughout his entire representation of Q3I, Levin never attempted to

             verify the operations, management, or accounts of Q3 Holdings or Q3I and never asked the

             managers or McEvoy to do so.

                    50.     By ratifying and encouraging the account handling methods and transfers without

             conducting any diligence or investigation to verify the veracity of them, or asking the fiduciaries

             to do so, Levin breached his duty of care he owed to Q3I. A reasonably careful attorney would not

             have failed to investigate the veracity of the purported account handling methods when asked by

             Q3I’s fund administrator about the propriety of them, or at minimum advised Q3I’s fund

             administrator to independently confirm the veracity of same.

                    51.     Levin’s breach caused damage to Q3I by allowing Q3I’s fiduciary assets to be

             misappropriated. The amount of damages is unknown and will be determined at trial.

                    WHEREFORE, Plaintiff Sanket Vyas, as liquidating agent for and on behalf of Q3 I, L.P.

             respectfully demand full and final judgment against Defendant Richard Levin, awarding damages

             together with interest on the judgment at the proper legal rate, plus cost and litigation costs,



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             expenses, and reasonable attorneys’ fees to the extent permitted by law or contract, and for such

             other relief to which Q3 I, L.P. may be rightly entitled.

                                        COUNT II – Negligent Misrepresentation
                                                (against Richard Levin)
                                          (Plead in the alternative to Count II)

                    52.     Plaintiff incorporates paragraphs 1 through 43 as if fully set forth herein.

                    53.     In the course of his business, profession, or employment acting as the attorney who

             was hired to protect Q3I and its limited partners, Levin made a misrepresentation of material fact

             to Q3I, when Levin told Q3I’s fund administrator, Denis McEvoy, that he was “completely

             comfortable” with the way the Q3I’s fiduciary funds were being handled and ratified the account

             handling methods as legitimate without conducting any diligence or investigation to verify the

             veracity of the account handling methods.

                    54.     Levin made the misrepresentation without knowledge of its truth or falsity, or when

             he should have known the representation was false, because Levin failed to do anything to verify

             the appropriateness of Ackerman’s proposed account handling methods or advise the managers of

             Q3 Holdings or Q3I’s fund administrator to verify the veracity of Ackerman’s purported account

             handling methods. Instead, Levin blindly gave a stamp of approval for Ackerman’s fraudulent

             scheme.

                    55.     Levin intended to induce another to act on the misrepresentation because Levin

             knew that Q3I was seeking his advice regarding the legal propriety of how Q3I’s fiduciary funds

             were being handled, and Levin knew that Q3I would rely on Levin’s ratification of same.

                    56.     Q3I, as the injured party, justifiably relied on Levin’s misrepresentation to its

             detriment because Levin’s stamp of approval gave Q3I confidence that the Q3I assets were being

             managed appropriately, which allowed Ackerman to steal millions of dollars from Q3I’s account.



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                     WHEREFORE, Plaintiff Sanket Vyas, as liquidating agent for and on behalf of Q3I, L.P.,

             respectfully demands full and final judgment against Defendant Richard Levin, awarding damages

             together with interest on the judgment at the proper legal rate, plus cost and litigation costs,

             expenses, and reasonable attorneys’ fees to the extent permitted by law or contract, and for such

             other relief to which Q3I, L.P. may be rightly entitled.

                                             COUNT III – Vicarious Liability
                                                (against Polsinelli PC)

                     57.    Plaintiff incorporates paragraphs 1 through 56 as if fully set forth herein.

                     58.    At all relevant times and during the course of the conduct described herein, Levin

             was employed by Polsinelli, and held himself out to Q3 Holdings and Q3I as acting on behalf of

             Polsinelli. At all material times, Levin was an agent of Polsinelli, and Polsinelli held Levin out as

             working on behalf of Polsinelli.

                     59.    Levin’s conduct as set forth herein was undertaken within the scope of his

             employment with Polsinelli and in the ordinary course of his employments with Polsinelli. Levin’s

             conduct is of the kind he was employed to perform because he was an attorney with Polsinelli,

             which held Levin out as specializing in regulatory and digital assets laws.

                     60.    Levin’s conduct as described above occurred substantially within the same time

             and space limited authorized or required by work to be performed by an attorney of Polsinelli.

                     61.    Because Levin held himself out to Q3 Holdings and Q3I as working on behalf of

             Polsinelli, the acts and omissions described herein were committed in his capacity as an agent for

             Polsinelli.

                     62.    Levin’s conduct as described herein was caused by an intent to serve his employer’s

             interests and was connected with its authorized acts.




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                    63.     Levin, on behalf of Polsinelli, voluntarily assumed a duty of care to Q3 Holdings

             and Q3I by acting as their attorney and providing legal representation and advice to them and/or

             providing legal advice that was intended for Q3I’s benefit.

                    64.     Levin, on behalf of Polsinelli, negligently breached his duty by failing to protect

             Q3 Holdings and Q3I from Ackerman by utterly failing to verify the operations, management, or

             accounts of Q3I and by ratifying the account handling methods and transfers of Q3I’s assets

             without verifying the truth of Ackerman’s claims regarding the returns and the exchange account

             balances or asking Q3I’s fund administrator or other managers of Q3 Holdings to do so.

                    65.     Pursuant to the doctrines of respondeat superior and agency, Polsinelli is

             vicariously liable for Levin’s negligence.

                    WHEREFORE, Plaintiff Sanket Vyas, as liquidating agent for and on behalf of Q3I, L.P.,

             respectfully demands full and final judgment against Defendant Polsinelli PC, awarding damages

             together with interest on the judgment at the proper legal rate, plus cost and litigation costs,

             expenses, and reasonable attorneys’ fees to the extent permitted by law or contract, and for such

             other relief to which Q3I, L.P. may be rightly entitled.

                                                 JURY TRIAL DEMAND

                    Plaintiff hereby demands a jury trial on all issues and claims so triable.

             Dated: December 3, 2021

                                                                   Respectfully submitted,

                                                                   /s/ Paul Thanasides
                                                                   Paul Thanasides
                                                                   Florida Bar No.: 103039
                                                                   paul@mcintyrefirm.com
                                                                   complexlit@mcintyrefirm.com
                                                                   clservice@mcintyrefirm.com
                                                                   Christa Queen-Sutherland
                                                                   Florida Bar No.: 91204

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                                                             christa@mcintyrefirm.com
                                                             McIntyre Thanasides Bringgold Elliott
                                                               Grimaldi Guito & Matthews, P.A.
                                                             500 E. Kennedy Blvd., Suite 200
                                                             Tampa, FL 35602
                                                             Telephone: 813.223.0000
                                                             Facsimile: 813.225.1221
                                                             Counsel for Plaintiffs




                                                        17


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            139710063  E-Filed 12/03/2021 04:52:14 PM
                 IN THE CIRCUIT&2817< COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                            IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

      Sanket Vyas, as liquidating agent for and on behalf
      ____________________________________________                                        21-CA-9606
                                                                            Case Number: _________________

      of Q3 I, L.P.
      ____________________________________________                                         L
                                                                            Division: _________________
      Plaintiff(s)

      vs

      Richard B. Levin and Polsinelli PC
      ____________________________________________

      ____________________________________________
      Defendant(s)


                                                          SUMMONS
      THE STATE OF FLORIDA:
      To Each Sheriff of the State:

              YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
                             Richard Levin, c/o Nelson Mullins, 1400 Wewatta St, Suite 500, Denver, CO 80202
      action on defendant(s) _______________________________________________________________________
                                                                                                       Paul Thanasides
              Each defendant is required to serve written defenses to the complaint or petition on _________________
                                               McIntyre Thanasides, 500 E Kennedy Blvd, Ste 200, Tampa, FL 33602
      plaintiff’s attorney, whose address is ___________________________________________________________,
      within 20¹ days after service of this summons on that defendant, exclusive of the day of service, and to file the
      original of the defenses with the clerk of this court either before service on plaintiff’s attorney or immediately
      thereafter. If a defendant fails to do so, a default will be entered against that defendant for the relief demanded
      in the complaint or petition.

      DATED on ______________________________
                   12/15/2021
                Paul Thanasides
      Attorney: ________________________________                    CINDY STUART
                    Sanket Vyas, as liquidating agent
      Attorney For: _____________________________                   As Clerk of the Court
                McIntyre Thanasides
      Address: _________________________________
      500 E. Kennedy Blvd., Suite 200
      ________________________________________                      By: _____________________________________
      Tampa, FL 33602
      ________________________________________                      As Deputy Clerk         800 E. Twiggs St.
                                                                    P.O. Box 3360           Room 101
                          103039
      Florida Bar Number: _______________________                   Tampa, FL 33601         Tampa, FL 33602


      ¹ Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida, one of its
      agencies, or one of its officials or employees sued in his or her official capacity is a defendant, the time to be
      inserted as to it is 40 days. When suit is brought pursuant to section 768.28, Florida Statutes, the time to be
      inserted is 30 days.




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                                                           IMPORTANT
      A lawsuit has been filed against you. You have 20 calendar days after this summons is served on you to file a
      written response to the attached complaint with the clerk of this court. A phone call will not protect you. Your
      written response, including the case number given above and the names of the parties, must be filed if you want
      the court to hear your side of the case. If you do not file your response on time, you may lose the case, and your
      wages, money, and property may thereafter be taken without further warning from the court. There are other legal
      requirements. You may want to call an attorney right away. If you do not know an attorney, you may call an
      attorney referral service or a legal aid office (listed in the phone book).

      If you choose to file a written response yourself, at the same time you file your written response to the court you
      must also mail or take a copy of your written response to the “Plaintiff/Plaintiff’s Attorney” named in the
      documents.

      If you are a person with a disability who needs any accommodation in order to participate
      in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
      Please contact the ADA Coordinator, Hillsborough County Courthouse, 800 E. Twiggs St.,
      Room 604, Tampa, Florida 33602, (813) 272-7040, at least 7 days before your scheduled
      court appearance, or immediately upon receiving this notification if the time before the
      scheduled appearance is less than 7 days; if you are hearing or voice impaired, call 711.


                                                        IMPORTANTE
      Usted ha sido demandado legalmente. Tiene 20 días, contados a partir del recibo de esta notificación, para
      contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una llamada telefónica no lo protegerá.
      Si usted desea que el tribunal considere su defensa, debe presentar su respuesta por escrito, incluyendo el número
      del caso y los nombres de las partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso
      y podría ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
      Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente. Si no conoce a
      un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en la guía telefónica.

      Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el tribunal,
      debera usted enviar por correo o entregar una copia de su respuesta a la persona denominada abajo como
      “Plaintiff/Plaintiff’s Attorney” (Demandante o Abogado del Demandante).

      Si usted es una persona minusválida que necesita algún acomodamiento para poder
      participar en este procedimiento, usted tiene derecho, sin tener gastos propios, a que se le
      provea cierta ayuda. Tenga la amabilidad de ponerse en contacto con el Coordinador de
      ADA, Hillsborough County Courthouse, 800 E. Twiggs St., Sala 604, Tampa, Florida
      33602, (813) 272-7040, por lo menos 7 días antes de la cita fijada para su comparecencia
      en los tribunales, o inmediatamente después de recibir esta notificación si el tiempo antes
      de la comparecencia que se ha programado es menos de 7 días; si usted tiene
      discapacitación del oído o de la voz, llame al 711.




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                                                          IMPORTANT
      Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir de la date de
      l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de ce tribunal. Un
      simple coup de telephone est insuffisant pour vous proteger. Vous etes obliges de deposer votre reponse ecrite,
      avec mention du numero de dossier ci-dessus et du nom des parties nommees ici, si vous souhaitez que le tribunal
      entende votre cause. Si vous ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la
      cause ainsi que votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur
      du tribunal. Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats d’un avocat. Si
      vous ne connaissez pas d’avocat, vous pourriez telephoner a un service de reference d’avocats ou a un bureau
      d’assistance juridique (figurant a l’annuaire de telephones).

      Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en meme temps que cette
      formalite, faire parvenir ou expedier une copie de votre reponse ecrite au “Plaintiff/Plaintiff’s Attorney”
      (Plaignant ou a son avocat) nomme ci-dessous.

      Si vous êtes une personne handicapée qui a besoin de mesures d'adaptation pour participer
      à cette procédure, vous avez droit, sans frais pour vous, à une certaine assistance. Veuillez
      contacter le coordinateur de l’ADA Hillsborough County Courthouse, 800 E. Twiggs St.,
      Salle 604, Tampa, Florida 33602, (813) 272-7040 au moins 7 jours avant votre comparution
      prévue au tribunal, ou immédiatement après avoir reçu cette notification si le délai avant la
      comparution prevue est inférieur à 7 jours; si vous êtes malentendant ou avez un trouble de
      la parole, appelez le 711.

                                                           Enpòtan
      Pwosedi legal yo te pran kont ou. Ou gen 20 jou konsekitif ki soti nan dat konklizyon sa a pou ou ranpli yon
      repons alekri pou plent sa a nan tribinal sa a. Yon apel telefon ki senp se pa ase pou pwoteje ou. Ou oblije ranpli
      repons alekri ou a, ak nimewo a dosye pi wo a ak non pati yo ki te nonmen isit la, si ou vle tribinal la tande ka w
      la. Si ou pa ranpli repons alekri ou nan rele egzije a, ou riske pedi koz la ak sale ou, lajan ou, ak pwopriyete ou
      yo ka mete men sou pita, san okenn lot avi nan tribinal la. Gen lot obligasyon legal epi ou ka mande sevis imedya
      yon avoka. Si ou pa konnen yon avoka, ou ka rele yon sèvis referans avoka oswa yon biwo ed legal (ki nan lis
      nan anye telefon).

      Si ou chwazi pou ou soumet yon repons alekri tet ou, ou pral bezwen tou voye oswa voye yon kopi repons ekri
      ou nan fòm sa a an menm tan an tankou fomalite sa a “Avoka Pleyan/Pwokire a” (Pleyan oswa avoka li) non anba
      a.

      Si ou se yon moun ki enfim ki bezwen akomodasyon pou w kab patisipe nan pwosedi sa a,
      ou gen dwa, san ou pa bezwen peye okenn lajan, pou w jwenn yon sèten èd. Tanpri kontakte
      Hillsborough County Courthouse, 800 E. Twiggs St., Sal 604, Tampa, Florida 33602, (813)
      272-7040, Kòdonatris pwogram Lwa Ameriken pou Moun ki Enfim yo nan Hillsborough
      County Courthouse, 800 E. Twiggs St., Sal 604, Tampa, Florida 33602, (813) 272-7040, fè
      sa omwen 7 jou anvan dat ou gen randevou pou parèt nan Tribinal la, oswa fè sa
      imedyatman apre ou fin resevwa konvokasyon an si dat ou gen pou w parèt nan tribunal la
      mwens pase 7 jou; si ou gen pwoblèm pou w tande byen oswa pou w pale klè, rele 711.




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            139710063  E-Filed 12/03/2021 04:52:14 PM
                 IN THE CIRCUIT&2817< COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                            IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

      Sanket Vyas, as liquidating agent for and on behalf
      ____________________________________________                          Case Number: _________________
                                                                                          21-CA-9606

      of Q3 I, L.P.
      ____________________________________________                          Division: _________________
                                                                                           L
      Plaintiff(s)

      vs

      Richard B. Levin and Polsinelli PC
      ____________________________________________

      ____________________________________________
      Defendant(s)


                                                          SUMMONS
      THE STATE OF FLORIDA:
      To Each Sheriff of the State:

              YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
                             Polsinelli PC, c/o NRAI Services, Inc, 1200 S Pine Island Rd, Plantation, FL 33324
      action on defendant(s) _______________________________________________________________________
                                                                                                       Paul Thanasides
              Each defendant is required to serve written defenses to the complaint or petition on _________________
                                               McIntyre Thanasides, 500 E Kennedy Blvd, Ste 200, Tampa, FL 33602
      plaintiff’s attorney, whose address is ___________________________________________________________,
      within 20¹ days after service of this summons on that defendant, exclusive of the day of service, and to file the
      original of the defenses with the clerk of this court either before service on plaintiff’s attorney or immediately
      thereafter. If a defendant fails to do so, a default will be entered against that defendant for the relief demanded
      in the complaint or petition.
                 12/15/2021
      DATED on ______________________________
                Paul Thanasides
      Attorney: ________________________________                    CINDY STUART
                    Sanket Vyas, as liquidating agent
      Attorney For: _____________________________                   As Clerk of the Court
                McIntyre Thanasides
      Address: _________________________________
      500 E. Kennedy Blvd., Suite 200
      ________________________________________                      By: _____________________________________
      Tampa, FL 33602
      ________________________________________                      As Deputy Clerk         800 E. Twiggs St.
                                                                    P.O. Box 3360           Room 101
                          103039
      Florida Bar Number: _______________________                   Tampa, FL 33601         Tampa, FL 33602


      ¹ Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida, one of its
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                                                           IMPORTANT
      A lawsuit has been filed against you. You have 20 calendar days after this summons is served on you to file a
      written response to the attached complaint with the clerk of this court. A phone call will not protect you. Your
      written response, including the case number given above and the names of the parties, must be filed if you want
      the court to hear your side of the case. If you do not file your response on time, you may lose the case, and your
      wages, money, and property may thereafter be taken without further warning from the court. There are other legal
      requirements. You may want to call an attorney right away. If you do not know an attorney, you may call an
      attorney referral service or a legal aid office (listed in the phone book).

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                                                        IMPORTANTE
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      33602, (813) 272-7040, por lo menos 7 días antes de la cita fijada para su comparecencia
      en los tribunales, o inmediatamente después de recibir esta notificación si el tiempo antes
      de la comparecencia que se ha programado es menos de 7 días; si usted tiene
      discapacitación del oído o de la voz, llame al 711.




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                                                          IMPORTANT
      Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir de la date de
      l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de ce tribunal. Un
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      cause ainsi que votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur
      du tribunal. Il y a d’autres obligations juridiques et vous pouvez requerir les services immediats d’un avocat. Si
      vous ne connaissez pas d’avocat, vous pourriez telephoner a un service de reference d’avocats ou a un bureau
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      Salle 604, Tampa, Florida 33602, (813) 272-7040 au moins 7 jours avant votre comparution
      prévue au tribunal, ou immédiatement après avoir reçu cette notification si le délai avant la
      comparution prevue est inférieur à 7 jours; si vous êtes malentendant ou avez un trouble de
      la parole, appelez le 711.

                                                           Enpòtan
      Pwosedi legal yo te pran kont ou. Ou gen 20 jou konsekitif ki soti nan dat konklizyon sa a pou ou ranpli yon
      repons alekri pou plent sa a nan tribinal sa a. Yon apel telefon ki senp se pa ase pou pwoteje ou. Ou oblije ranpli
      repons alekri ou a, ak nimewo a dosye pi wo a ak non pati yo ki te nonmen isit la, si ou vle tribinal la tande ka w
      la. Si ou pa ranpli repons alekri ou nan rele egzije a, ou riske pedi koz la ak sale ou, lajan ou, ak pwopriyete ou
      yo ka mete men sou pita, san okenn lot avi nan tribinal la. Gen lot obligasyon legal epi ou ka mande sevis imedya
      yon avoka. Si ou pa konnen yon avoka, ou ka rele yon sèvis referans avoka oswa yon biwo ed legal (ki nan lis
      nan anye telefon).

      Si ou chwazi pou ou soumet yon repons alekri tet ou, ou pral bezwen tou voye oswa voye yon kopi repons ekri
      ou nan fòm sa a an menm tan an tankou fomalite sa a “Avoka Pleyan/Pwokire a” (Pleyan oswa avoka li) non anba
      a.

      Si ou se yon moun ki enfim ki bezwen akomodasyon pou w kab patisipe nan pwosedi sa a,
      ou gen dwa, san ou pa bezwen peye okenn lajan, pou w jwenn yon sèten èd. Tanpri kontakte
      Hillsborough County Courthouse, 800 E. Twiggs St., Sal 604, Tampa, Florida 33602, (813)
      272-7040, Kòdonatris pwogram Lwa Ameriken pou Moun ki Enfim yo nan Hillsborough
      County Courthouse, 800 E. Twiggs St., Sal 604, Tampa, Florida 33602, (813) 272-7040, fè
      sa omwen 7 jou anvan dat ou gen randevou pou parèt nan Tribinal la, oswa fè sa
      imedyatman apre ou fin resevwa konvokasyon an si dat ou gen pou w parèt nan tribunal la
      mwens pase 7 jou; si ou gen pwoblèm pou w tande byen oswa pou w pale klè, rele 711.




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